

People v Hammond (2023 NY Slip Op 03079)





People v Hammond


2023 NY Slip Op 03079


Decided on June 08, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 08, 2023

Before: Webber, J.P., González, Rodriguez, Pitt-Burke, JJ. 


Ind No. 1061/17 Appeal No. 429 Case No. 2019-1885 

[*1]The People of the State of New York, Respondent,
vRobert Hammond, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katheryne M. Martone of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Peter Rienzi of counsel), for respondent.



Judgment, Supreme Court, New York County (Jill Konviser, J. at motion; Curtis J. Farber, J. at plea and sentencing), rendered December 20, 2018, convicting defendant of identity theft in the first degree, and sentencing him to a term of 90 days concurrent with five years' probation, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US —, 140 S Ct 2634 [2020]). The combination of the court's colloquy and the detailed written waiver that defendant signed after consultation with counsel satisfied the requirements of a valid waiver. This waiver forecloses review of defendant's claim that the motion court improperly denied certain branches of defendant's suppression motion without a hearing. In any event, we reject that claim on the merits. With regard to those branches of the motion, the record shows that there was no legal basis for suppression or any factual dispute requiring a hearing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 8, 2023








